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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             PANAMA CITY DIVISION


UNITED STATES OF AMERICA

v.                                                CASE NO.: 5:05cr19/MCR

JOHN W. DURNBAUGH

                                     /


                         ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there has been no timely objections, and subject to this Court’s
consideration of the Plea Agreement pursuant to Fed.R.Crim.P. 11(e)(2), the plea of guilty
of the Defendant, JOHN W. DURNBAUGH, to Count I of the indictment is hereby
ACCEPTED. All parties shall appear before this Court for sentencing as directed.
      DONE and ORDERED this 4th day of October, 2005.




                                            s/   M. Casey Rodgers
                                           M. CASEY RODGERS
                                           UNITED STATES DISTRICT JUDGE
